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     IT IS ORDERED as set forth below:



     Date: June 1, 2018
                                                           _________________________________

                                                                    Barbara Ellis-Monro
                                                               U.S. Bankruptcy Court Judge


 ________________________________________________________________
                        UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ROME DIVISION

IN RE:

PATRICIA J. PORTER                                     :         CHAPTER 13
                                                       :
                Debtor,                                :         CASE NO.: 17-42346-BEM
                                                       :
PATRICIA J. PORTER                                     :
                                                       :
                Movant,                                :
v.                                                     :
                                                       :
EDWARD SCOTT RICE AND                                  :     IN PROCEEDINGS UNDER
MARY RICE                                              :     CHAPTER 13 OF THE
          Respondent.                                  :     BANKRUPTCY CODE
                                                       :


                 CONSENT ORDER RESOLVING DEBTOR’S OBJECTION
                           TO FILED PROOF OF CLAIM

         Debtor’s Objection to Filed Proof of Claim was filed on February 20, 2018 (the “Objection”)
(Doc. No. 35) seeking to disallow Claim No. 17-1 on the Claims Register, filed by EDWARD
SCOTT RICE AND MARY RICE in the amount of $20,210.00 (the “Claim”).                   Hearing on the
Objection was originally scheduled for March 28, 2018 but was re-noticed to May 25, 2018.
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         Debtor and counsel for Respondent have reached an agreement that (i) the Claim shall be
deemed modified and $13,500.00 shall be treated as a secured claim in Debtor’s Chapter 13 Plan and
the remaining portion of the Claim shall be treated as a general unsecured debt; and (ii) in the event
the Debtor’s case is dismissed or converted to Chapter 7, the Lien of Respondent shall not be affected
by this Order in accordance with 11 U.S.C.§§ 348 or 349 as applicable.
         As Debtor and counsel for Respondent have reached an agreement, and for good cause
shown, it is hereby ORDERED that the Motion is granted under the limited provisions set out
above.

                                     [END OF DOCUMENT]



Prepared by:
/s/ _______________
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Georgia Bar # 652875
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Attorney for Debtor
Overlook III
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Counsel for Debtor



Consented by:
/s/_________________
Jack F. Witcher
GA Bar No. 771700
Jack F. Witcher, Attorney at Law
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Bremen, GA 30110
Counsel for Respondent
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No Opposition:

___/s/___________
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Attorney for Chapter 13 Trustee
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                                   DISTRIBUTION LIST

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